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11                          UNITED STATES DISTRICT COURT
12                     CENTRAL DISTRICT OF CALIFORNIA
13
14   JUSTIN WALKER,                     CASE NO. 2:21-cv-03853-SVW-MAR
15                                      ORDER GRANTING
               Plaintiff,
16                                      STIPULATION OF DISMISSAL OF
     v.                                 PLAINTIFF JUSTIN WALKER’S
17                                      CLAIMS WITHOUT PREJUDICE
     C. R. BARD, INC., and BARD
18                                      Complaint Filed:    May 9, 2019
     PERIPHERAL VASCULAR, INC.,
19                                      Transferred:        May 6, 2021
               Defendants.              Trial Date:         February 9, 2022
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                                        Assigned to Hon. Stephen V. Wilson
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           [PROPOSED] ORDER GRANTING STIPULATION OF DISMISSAL
     Case 2:21-cv-03853-SVW-MAR Document 24 Filed 11/24/21 Page 2 of 2 Page ID #:247



1            The Court, having reviewed the Stipulation of Dismissal of Plaintiff Justin Walker’s
2      Claims Without Prejudice, and good cause appearing therefore, hereby enters the following
3      Order.
4            1. The Stipulation of Dismissal of Plaintiff Justin Walker’s Claims Without
5               Prejudice is GRANTED.
6            2. Each party is to bear its own fees and costs.
7            IT IS SO ORDERED.
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9      DATED:     November 24, 2021
                                                    Hon. Stephen V. Wilson
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                                                    United States District Judge
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                [PROPOSED] ORDER GRANTING STIPULATION OF DISMISSAL
